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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

APPLIED ULTRASONICS,                       )
LLC and UIT, LLC,                          )
                                           )
         Plaintiffs,                       )
                                           )
v.                                         )     Case No. CV-13-00964-MHH
                                           )
INTEGRITY TESTING                          )
LABORATORY, INC. and                       )
STRUCTURAL INTEGRITY                       )
TECHNOLOGIES, INC.,                        )
                                           )
Defendants.                                )

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         COME NOW Plaintiffs Applied Ultrasonics, LLC and UIT, LLC, by and

through their undersigned counsel, and Defendants Integrity Testing Laboratory,

Inc. and Structural Integrity Technologies, Inc., by and through their undersigned

counsel, and, being all of the parties to this action, jointly stipulate and agree

pursuant to Rule 41(a) of the Federal Rules of Civil Procedure that this action, and

each and every count, claim, and counterclaim thereof, be dismissed with

prejudice, each party to bear their own costs.


         Respectfully submitted this 7th day of October 2014,




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/s/ Scott S. Brown                        /s/ John S. Zanghi
C. Brandon Browning                       Richard M. Klein (admitted pro hac vice)
Scott S. Brown                            John S. Zanghi (admitted pro hac vice)
Janine A. McKinnon

OF COUNSEL:                               OF COUNSEL:
MAYNARD COOPER & GALE, P.C.               FAY SHARPE LLP
1901 6th Avenue North, Suite 2400         The Halle Building, 5th Floor
Birmingham, Alabama 35203                 1228 Euclid Avenue
Tel: (205) 254-1000                       Cleveland, Ohio 44115-1843
Fax: (205) 254-1999                       Phone: 216.363.9000
bbrownnig@maynardcooper.com               Fax: 216.363.9001
scottbrown@maynardcooper.com              rklein@faysharpe.com
jmckinnon@maynardcooper.com               jzanghi@faysharpe.com

Attorneys for Plaintiffs                  and
Applied Ultrasonics, LLC
and UIT LLC                               Matthew Blair Clinton
                                          HENINGER GARRISON DAVIS LLC
                                          2224 1st Avenue North
                                          Birmingham, AL 35203
                                          205-327-9116
                                          Fax: 205-326-3332
                                          Email: bclinton@hgdlawfirm.com

                                          Attorneys for Defendants Integrity Testing
                                          Laboratory, Inc. and Structural Integrity
                                          Technologies, Inc.




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